  Case 2:21-cv-03794-RSWL-JC Document 26 Filed 07/06/22 Page 1 of 1 Page ID #:1044



 1
 2
 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
      JOEL R.,1                                       Case No. 2:21-cv-03794-RSWL-JC
11                              Plaintiff,
12                      v.                            (PROPOSED)
13
      KILOLO KIJAKAZI, Acting                         JUDGMENT
14    Commissioner of Social Security,
15
                               Defendant.
16
17
18          IT IS HEREBY ADJUDGED that the decision of the Acting Commissioner
19 of Social Security is reversed and this matter is remanded for further administrative
20 action consistent with the June 14, 2022 Report and Recommendation of United
21 States Magistrate Judge.
22        IT IS SO ADJUDGED.
23 DATED: July 6, 2022                       ___/S/ RONALD S.W. LEW ________
24
                                             HONORABLE RONALD S.W. LEW
25                                           UNITED STATES DISTRICT JUDGE
26
27          1
             Plaintiff’s name is partially redacted to protect plaintiff’s privacy in compliance with
28   Federal Rule of Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on
     Court Administration and Case Management of the Judicial Conference of the United States.
